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RECURDING INDUSTRY

 

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AM RICA

VIA ELECTRONIC MAIL
March 21, 2019

Namecheap

4600 East Washington Street
Suite 305

Phoenix, AZ 85034

Dear Sir or Madam:

I arn contacting you on behalf of the Recording lndustry Association of America, Inc.
(RIAA) and its member record companiesl The RIAA is a trade association whose
member companies create, manufacture and distribute approximately eighty-five (85)
percent of all legitimate sound recordings sold in the United States.

We have determined that a user of your system or network has infringed our member
record companies’ copyrighted sound recordings

Enclosed is a subpoena compliant with the Digital Millennium Copyright Act. The
subpoena requires that you provide the RIAA with information concerning the individual
offering infringing material described in the attached notice.

As is stated in the attached subpoena, you are required to disclose to the RIAA
information sufficient to identify the infringer This would include the individual’s name,
physical address, IP address, telephone number, e-mail address, payment information,
account updates and account history.

Thank you for your cooperation in this matter. If you have any questions please feel free
to contact me via ernail at antipiracy@riaa.com, via telephone at (202)’ 775-0101, or via
mail at RIAA, 1025 F Street N.W., IOth Floor, Washington, D.C., 20004.

Sincerely,

/¢-é~/ /Z

Mark McDevitt
Vice President, Online Anti-Piracy

 

REBURDING INDUSTR¥ ASSDCIATIDN GF AMERICA
lOZSFSTREET,NW,lOTH FLOOR WASHINGTON,DC 20004
PHONE:202.775 0101 FAX:202.775 7253 WEB:Www.riaa.com

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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

RECORDING INDUSTRY ASSOCIATION ) Case Number:
OF AMERICA, INC. )
)
Plaintiff, ) DECLARATION OF MARK McDEVITT
)
vs. ) IN SUPPORT OF ISSUANCE OF
) SUBPOENA PURSUANT TO 17 U.S.C §
NAMECHEAP. ) 512(h)
)
Defendant. )
)
)
)
)

 

I, MARK McDEVITT, the undersigned, declare that:

l. l am a Vice President, Online Anti-Piracy for the Recording Industry Association of
America, Inc. (RIAA). The RIAA is a trade association whose member companies create,
manufacture or distribute sound recordings The RIAA is authorized to act on its member
companies’ behalf on matters involving the infringement of their copyrighted video and sound
recordingsl

2. The RIAA is requesting the attached proposed subpoena that would order Namecheap to
disclose the identity, including name, physical address, IP address, telephone number, e-rnail
address, payment information, account updates and account history of the user operating the
following website:

li_ttps://dbree-dl .download/d/s/Ra3 WZ\:FnhrKGZw/ original Ed%ZOSheeran%ZO-
%20Perfect.m1)3?token=chOFandV6f-
Vq9nkIA5A&expires=l552670525&attachment&url token=mZ()o

 

3. The purpose for which this subpoena is sought is to obtain the identity of the individual
assigned to this website who has induced the infringement of, and has directly engaged in the
infringement of, our members’ copyrighted sound recordings without their authorization This
information will only be used for the purposes of protecting the rights granted to our members,
the sound recording copyright owner, under Title ll of the Digital Millennium Copyright Act.

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I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge, information or belief.

Executed at Washington, District of Colurnbia, on March 21, 2019.

 

 

Mark McDevitt

  

REL`URDING INDU$TRY

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VIA ELECTRONIC MAIL
March 2 l , 201 9

Namecheap

4600 East Washington Street
Suite 305

Phoenix, AZ 85034

Dear Sir or Madam:

l am contacting you on behalf of the Recording Industry Association of America, Inc.
(RIAA) and its member record companies The RIAA is a trade association Whose
member companies create, manufacture and distribute approximately eighty-five (85)
percent of all legitimate sound recordings sold in the United States. Under penalty of
perjury, we submit that the RIAA is authorized to act on behalf of its member companies
on matters involving the infringement of their sound recordings, including enforcing their
copyrights and common law rights on the Internet.

We believe your service is hosting the below-referenced domain name on its network.
The website associated with this domain name offers files containing sound recordings
which are owned by one or more of our member companies and have not been authorized
for this kind of use, including without limitation those referenced at the URL below. We
have a good faith belief that the above-described activity is not authorized by the
copyright owner, its agent, or the law. We assert that the information in this notification
is accurate, based upon the data available to us.

We also ask that you consider the widespread and repeated infringing nature of the site
operator(s)' conduct, and whether the site(s)' activities violate your terms of service
and/or your company's repeat infringer policy.

This e-mail does not constitute a Waiver of any right to recover damages incurred by
virtue of any such unauthorized activities, and such rights as well as claims for other
relief are expressly retained.

RECURDING INDU$TR¥ A$$UCIATIDN UFAMERIEA
1025 F STREET, NW, lOTH FLODR, WASHlNGTON, DC 20004
PHONE:202.775 0101 FAX:ZOZ 775 7253 WEB:www.riaa.corn

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You may contact me at RIAA, 1025 F Street N.W., 10th Floor, Washington, D.C., 20004,
Tel. (202) 775-0101, or e-mail antipiracv@.riaa.com, to discuss this notice. Thank you
for your assistance in this matter.

Mark McDevitt
Vice President, Online Anti-Piracy

Ed Sheeran - Perfect

https://dbree-dl .download/d/s/Ra3 W2yFnhrKGZw/original_Ed%2OSheeran%20-
%20Perfect.mp3 ?token=chQFandV6f-

Vq9nklA5A&expires=l 5 52670525&attachment&url_token=mZOo

